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  EXHIBIT 1
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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                        BUTTE DIVISION


NICHOLAS DOUGLAS;
TASHEKA BRYAN;                      CV 18-62-BU-SEH
JUNIOR HARRIS;
MARCUS RICHARDS;
STEPHANEY SMITH; and those          PROPOSED CLASS ACTION
similarly situated,                 SETTLEMENT AND RELEASE

          Plaintiffs,

    vs.

YELLOWSTONE CLUB
OPERATIONS, LLC; and
HOSPITALITY STAFFING
SOLUTIONS, LLC,

          Defendants.
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                                          Table of Exhibits



Exhibit 1   Notice of Proposed Settlement Class Action ..........................................

Exhibit 2   Preliminary Approval Order ...................................................................




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                         SETTLEMENT AGREEMENT

      This Settlement Agreement is made and entered into by and among the Class

Representatives, Class Members, Yellowstone Club Operations, LLC (“YCO”),

and Hospitality Staffing Solutions LLC (“HSS”) in the Action captioned above as

those terms are defined herein (collectively, the “Parties”), by and through their

attorneys of record.

      Subject to Court approval as required by the Federal Rules of Civil

Procedure and as provided below, it is hereby stipulated and agreed by the Parties

that, in consideration of the promises and covenants set forth in this Settlement

Agreement and upon the entry by the Court of a Final Order and Judgment

approving the settlement and directing the implementation of the terms and

conditions of this Settlement Agreement, this Action shall be settled and

compromised upon the terms and conditions set forth below.

                                    RECITALS

      WHEREAS, on September 20, 2018, Plaintiffs filed an initial complaint

(Doc. 1) in the United States District Court for the District of Montana, Butte

Division, in Case No. 2:18-cv-00062-SEH captioned as Nicholas Douglas;

Tasheka Bryan; Junior Harris; Marcus Richards; Stephaney Smith; and those

similarly situated, Plaintiffs, v. Yellowstone Club Operations, LLC; and

Hospitality Staffing Solutions LLC, Defendants (the “Lawsuit” or “Action”);


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      WHEREAS, after engaging in litigation the Parties are willing to enter into

this Settlement Agreement to settle the claims of this Lawsuit, including all claims

asserted against HSS and YCO or that could have been asserted against HSS and

YCO, with a Federal Rule of Civil Procedure 23(b)(3) Settlement Class because

of, among other reasons, the attendant expense, risks, difficulties, delays, and

uncertainties of continued litigation;

      WHEREAS, HSS and YCO will fund monetary relief for all members of

the Federal Rule of Civil Procedure 23(b)(3) Settlement Class;

      WHEREAS, Plaintiffs and their Class Counsel, after discovery and

investigation, believe that this Settlement Agreement provides fair, reasonable,

and adequate relief to the Federal Rule of Civil Procedure 23(b)(3) Settlement

Class and that it is in the best interest of the Federal Rule of Civil Procedure

23(b)(3) Settlement Class to settle, compromise, and dismiss their claims on the

merits and with prejudice as to HSS and YCO on the terms set forth below; and

      WHEREAS, HSS and YCO deny all claims asserted against them in this

Lawsuit, deny that class certification would be appropriate if the case were

litigated rather than settled, deny all allegations of wrongdoing and liability, and

deny that the Class Members suffered damages attributable to HSS or YCO.

Nevertheless, HSS and YCO desire to settle Plaintiffs’ claims on the terms and

conditions set forth in this Settlement Agreement solely for the purpose of


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avoiding the burden, expense, risk and uncertainty of continuing the proceedings

on those issues in this Lawsuit and putting to rest the controversies engendered.

      NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED that

this Lawsuit and all claims of the Federal Rule of Civil Procedure 23(b)(3)

Settlement Class Action, including all claims asserted against HSS and YCO or

that could have been asserted against HSS and YCO, be settled, compromised, and

dismissed on the merits and with prejudice as to HSS and YCO on the terms set

forth below, subject to the approval of the Court and the Court’s continuing

jurisdiction over the execution of the terms of this Settlement Agreement.

      The recitals stated above are true and accurate and are hereby made a part

of the Settlement Agreement.

      I. Definitions

      Unless defined elsewhere in this Settlement Agreement, as used in this

Settlement Agreement and the related documents attached hereto as exhibits, the

terms set forth below shall have the meanings set forth below. The singular

includes the plural and vice versa.

      1.1    “Action” or “Lawsuit” means the above-captioned action currently

pending before the United States District Court for the District of Montana, Butte

Division, in Case No. 2:18-cv-00062-SEH captioned as Nicholas Douglas;

Tasheka Bryan; Junior Harris; Marcus Richards; Stephaney Smith; and those


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similarly situated, Plaintiffs, v. Yellowstone Club Operations, LLC; and

Hospitality Staffing Solutions LLC, Defendants.

       1.2   “Administrative Costs” mean the costs of administering the class

Settlement Fund, which includes the cost of producing and mailing the Class

Notices and other costs approved by the Court.

       1.3   “Amended Complaint” means the First Amended Class Action

Complaint and Jury Demand, dated October 18, 2019, filed in this Action (Dkt.

20).

       1.4   “Attorney Fees” means the attorneys’ fees Class Counsel may receive

from the Settlement Fund, as approved by the Court in the settlement of this

Action.

       1.5   “CAFA Notice” means the notices required by the Class Action

Fairness Act (“CAFA”), 29 U.S.C. § 1715.

       1.5   “Class” or “Settlement Class” means: All persons who worked at the

Yellowstone Club between October 2017 and May 2018 on Non-Immigrant H-2B

Visas and who were on the payroll of HSS during that period, but excludes any

individuals who submit a valid and timely opt-out request in accordance with

Subsection 5.1 herein.

       1.6   “Class Counsel” means: Mary Jo Lowrey of Lowrey Parady Lesback,

LLC; Christopher Young of Young Law Office PLLC; and David Seligman of


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Towards Justice.

      1.7    “Class Member” means an individual or entity that meets the Class

definition, but excludes any person who submits a valid and timely opt-out request

in accordance with Subsection 5.1 herein.

      1.8    “Class Representatives” mean Nicholas Douglas, Tasheka Bryan,

Junior Harris, Marcus Richards, and Stephaney Smith.

      1.9 “Costs” means the costs Class Counsel has incurred in the prosecution

of this action that are approved by the Court.

      1.10 “Court” means the United States District Court for the District of

Montana, Butte Division.

      1.11 “Effective Date” means the date on which this Court’s entry of the

Final Approval Order and this Court’s order regarding attorneys’ fees, costs, and

service fees all become final because the following has occurred: (a) the expiration

of three (3) business days after the time to file a motion to alter or amend the Final

Approval Order under Federal Rule of Civil Procedure 59(e) has passed without

such a motion having been filed; (b) the expiration of three (3) business days after

the time in which to appeal the Final Approval Order has passed without any

appeal having been filed (which date shall be deemed to be thirty-three (33) days

following entry of the Final Approval Order); and (c) if such motion to alter or

amend is filed, or if an appeal is taken, three (3) business days after a


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determination of such motion or appeal that permits the consummation of the

Settlement. If the Settlement is not approved by the court, not upheld on appeal, or

cannot otherwise be consummated, the Parties will return to the status quo ante,

that is, their respective positions that existed in this Action before entering into this

Settlement Agreement.

      1.12 “Fairness Hearing” means the settlement approval hearing to be

conducted by the Court in connection with the determination of the fairness,

adequacy, and reasonableness of this Settlement Agreement in accordance with

Federal Rule of Civil Procedure 23(e), and at which hearing

hearing at the Court will consider and finally decide whether to approve this

Settlement, enter a judgment, and make such other rulings as are contemplated by

this Settlement. The Fairness Hearing shall be scheduled in accordance with the

Notice Plan approved by the Court and following the granting of Plaintiffs’

motion for Preliminary Approval of the Settlement, subject to the Court’s ultimate

discretion and inherent control over these proceedings.

      1.14 “Final Order and Judgment” or “Final Approval Order” means the

Order Granting Final Approval of Class Action Settlement and Judgment of

Dismissal with Prejudice issued by the Court approving this settlement and this

Settlement Agreement as fair, adequate, and reasonable and in the best interests of

the Class as a whole in accordance with Federal Rule of Civil Procedure 23(e).


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      1.16 “HSS” means Hospitality Staffing Solutions LLC, including any and

all heirs, personal representatives, subsidiaries, affiliates, parent companies,

successors, assigns, agents, insurers, employees, or other related entities and

attorneys of HSS.

      1.17 “HSS’s Counsel” means the law firm of Ogletree, Deakins, Nash,

Smoak & Stewart, P.C.

      1.18 “Initial Notice Date” means the first date upon which the Notice of

Proposed Settlement of Class Action is initially mailed to any Class Member

pursuant to Section IV below.

      1.19 “Net Class Settlement Funds” is defined as the balance of the class

“Settlement Fund” of $1,000,000.00, less Attorney Fees, Costs, Administrative

Costs, and other costs approved by the Court.

      1.20 “Notice List” with respect to the Notice of Proposed Settlement of

Class Action means the list of certain Class Members, by name and last known

contact information, identified by payroll records and provided to Class Counsel.

      1.22 “Notice Plan” means the Court-approved plan for disseminating

notice to the Federal Rule of Civil Procedure 23(b)(3) Settlement Class, as

described in Section IV.

      1.23 “Notice” means the Court-approved notice in substantially the form

attached hereto as Exhibit 1, subject to the Court’s ultimate discretion and inherent


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control over these proceedings.

      1.24 “Parties” mean the Class Representatives, the Class Members, HSS,

and YCO.

      1.25 “Payment Notices” means the notices sent to the Class Members at

the time of payment of the Net Class Settlement Funds.

      1.26 “Person” (without regard to capitalization) means any individual or

legal entity, including associations, and their assigns.

      1.27 “Preliminary Approval Order” means the Order Granting Preliminary

Certification of Class, Preliminary Approval of Class Action Settlement, and

Providing for Notice of Settlement issued by the Court, in substantially the form

attached hereto as Exhibit 2, subject to the Court’s ultimate discretion and inherent

control over these proceedings.

      1.28 “Released Claim” means a claim that has been waived, released, and

discharged under this Settlement Agreement, as discussed more fully in Section

VIII below.

      1.29 “Settlement Date” means the date on which the Final Order and

Judgment is entered.

      1.30 “Settlement Fund” means the total amount of the class settlement fund

of $1,000,000.00, which HSS and YCO shall pay to Class Members in full

satisfaction of all claims raised in this Action, and all claims that could have been


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raised in this Action. YCO will contribute $515,000 to the Settlement Fund and

HSS will contribute $485,000 to the Settlement Fund. The amount of the

Settlement Fund is inclusive of Class Representatives’ and Class Members’

attorneys’ fees and costs, and inclusive of all expenses and costs of administering

the settlement.

      1.31 “YCO” means Yellowstone Club Operations, LLC, including any and

all heirs, personal representatives, subsidiaries, affiliates, parent companies,

successors, assigns, agents, insurers, employees, or other related entities and

attorneys of YCO.

      1.32 “YCO’s Counsel” means the law firm of Crowley Fleck, PLLP.

      II. No Admission of Liability or to the Elements of Class Certification

      2.1    HSS’s and YCO’s Denial of Wrongdoing or Liability. HSS and YCO

have asserted, and continue to assert, many defenses in this Lawsuit, and both HSS

and YCO have expressly denied and continue to deny any fault, wrongdoing, or

liability whatsoever arising out of the conduct alleged in the Lawsuit. HSS and

YCO expressly deny any fault, wrongdoing, or liability whatsoever, as well as the

validity of each of the claims and prayers for relief asserted in the Lawsuit. The

Parties expressly acknowledge and agree that neither the fact of, nor any provision

contained in this Settlement Agreement nor any of the implementing documents or

actions taken under them, shall constitute or be construed as any admission of the


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validity of any claim, any status, or any fact alleged in the Lawsuit, or any fault,

wrongdoing, violation of law, or liability of any kind on the part of HSS and/or

YCO, or any admission by HSS or YCO of any claim or allegation made in any

action or proceeding against HSS or YCO.

      HSS and YCO have denied, and continue to deny, each and all of the claims

and allegations in the Lawsuit. Neither this Settlement Agreement nor any

document referred to herein, nor any action taken to carry out this Settlement

Agreement and/or the Settlement, or HSS and/or YCO’s willingness to enter into

this Settlement Agreement, nor any or all negotiations, communications, and

discussions associated with the Settlement are, or may be construed as, or may be

used in any proceeding as, an admission by or against HSS or YCO of any fault,

wrongdoing, or liability whatsoever, or any infirmity of any defense(s) asserted by

HSS and/or YCO.

      2.2    No Admission by HSS or YCO of Elements of Class Certification.

HSS and YCO deny that a class should be certified other than for purposes of this

Settlement, and both HSS and YCO reserve its rights to contest any class

certification motion should this Settlement not be approved by the Court or

upheld on appeal. Separate and apart from the purposes of this Settlement

Agreement, HSS and YCO deny that the Lawsuit could be certified as a class

action under Federal Rule of Civil Procedure 23. Nothing in this Settlement


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Agreement shall be construed as an admission by HSS or YCO that the Lawsuit or

any similar case is amenable to class certification. Furthermore, nothing in this

Settlement Agreement shall prevent HSS or YCO from opposing class certification

or seeking de-certification of the certified Settlement Class if final approval of this

Settlement is not obtained, or not upheld on appeal, including any review by the

United States Court of Appeals for the Ninth Circuit or United States Supreme

Court.

         III. Preliminary Approval and Notice Approval

         3.1   Preliminary Approval Motion. Class Counsel shall file this proposed

Settlement Agreement with the Court together with a Motion for Preliminary

Approval that seeks entry of an order that would, for settlement purposes only:

(1) certify a Federal Rule of Civil Procedure 23(b)(3) class for purposes of

settlement under Federal Rule of Civil Procedure 23(b)(3); (2) preliminarily

approve this proposed Settlement Agreement; (3) find that the named Plaintiffs are

adequate Class Representatives of the Federal Rule of Civil Procedure 23(b)(3)

Settlement Class; (4) appoint Class Counsel; and (5) approve the Notice Plan and

Notice.

         3.2   Notice Approval Motion. Class Counsel shall provide to HSS’s

Counsel and YCO’s Counsel the proposed Notice Plan and Notice for review by

HSS’s Counsel and YCO’s Counsel prior to submission to the Court for approval.


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After the Parties agree to a Notice Plan and Notice, Class Counsel shall file with

the Court a Motion for Preliminary Approval, seeking Court approval of the agreed

upon Notice Plan and Notice.

      3.3    CAFA Notice. HHS and YCO will each be responsible for timely

compliance with all CAFA notice requirements.

      IV. Notice Plan

      4.1    Preparation, Identification, and Production of List of Identified Class

Members. HSS shall be responsible for reviewing its payroll records to identify

the potential Class Members and providing a list of such Class Members, as well as

each Class Member’s last known contact information, to Class Counsel (the “Class

List”). As of the date of this agreement, HSS has identified 83 potential Class

Members. All Parties to this Agreement shall work in good faith to identify Class

Member contact information that can be used to provide notice of this settlement to

Class Members.

      4.2    Class Counsel’s Responsibility to Update Mailing Addresses for Class

Members in Class List. If the Notice Plan includes a mailing, after receiving the

Class List from HSS, Class Counsel (expenses to be paid/reimbursed from

“Settlement Fund”) will check and update the mailing addresses for the identified

potential Class Members, using the U.S.P.S. National Change of Address database

and other commercially-reasonable databases, which may include, without


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limitation and by example only, data from Experian, Trans Union, or Equifax

and/or any of their affiliates; data from LexisNexis or other comparable skip-trace

data sources; and other, appropriate commercial or public sources. All Parties

understand that updating might not be possible for international addresses.

      4.3    Notice Process. For purposes of providing Court-approved Class

Notices and establishing that the best practicable notice has been given, the

provision of Class Notice will be accomplished in accordance with the Notice Plan

approved by the Court, including as provided in this Section IV. The Parties agree

that the notice and administration process shall be robustly designed to maximize

Class Member response. The Parties have worked together to identify email

addresses, cell phone numbers, and physical addresses for each Class Member. The

Parties have at least one of these three kinds of contact information for each Class

Member.

      4.4    Time Within Which Class Counsel Shall Distribute Notices Upon

Preliminary Approval. Following the Court’s Preliminary Approval of the Notice

and associated opt-out form, and within 21 days thereof, Class Counsel shall cause

the Notice of Class Action Settlement to be distributed using the contact

information available to the Class Members. Emails and text messages to cell

phones will include a link to a web address where the Notice is available to review

and the exclusion form can be completed electronically. The Notice will be sent to


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Class Members by U.S. Mail, postage prepaid or an equivalent method for

international mailing.

      4.5    The Notice. Notice shall take the form of the document attached as

Exhibit 1 to this Agreement.

      4.6    Returned Mail. For any mailing that is returned to Class Counsel with

a forwarding address, Class Counsel shall re-mail Notice to that forwarding

address. For all mail that is returned without a forwarding address, Class Counsel

shall devise an appropriate means to obtain additional postal address information

for such Class Members, and Class Counsel shall re-mail to all new addresses

obtained.

      4.7    Proof of Mailing of Class Notice. Not later than 21 days before the

Fairness Hearing, Class Counsel shall cause proof of the mailing of Notice to the

Class Members to be filed with the Court. To the extent that the proof of mailing

contains individual names, addresses, or other personal identifying information, the

proof of mailing shall be filed under seal.

      V. Procedures For Opt-Outs and Objections

      5.1    Opt-Out Procedures for Federal Rule of Civil Procedure 23(b)(3)

Settlement Class Members. The Notice shall contain information about how a

Class Member may opt out of the Settlement, as well as an opt-out form. A Class

Member may request to be excluded from the Settlement Class by completing and


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sending the opt-out form provided with the Notice to Class Counsel. To be valid,

the opt-out form must be personally signed by the Class Member. Complete opt-

out request forms must be postmarked no later than fifteen (15) days before the

Fairness Hearing.

      5.2     List of Opt-Outs. No later than five (5) business days after the

deadline for submission of opt-out requests, Class Counsel shall provide HSS’s

Counsel and YCO’s Counsel a complete list of all persons who have opted out of

the Settlement, together with copies of the completed opt-out request forms.

      5.3     Right to Challenge. The Parties shall have the right to challenge the

timeliness and validity of any opt-out request. The Parties shall also have the right

to effectuate the withdrawal of any opt-out request filed in error. The Court shall

determine whether any contested opt-out request is valid. Upon agreement of the

Parties, a present or former Class Member may withdraw an opt-out request and

ask to be reinstated as a Class Member for the purpose of participating in the

settlement.

      5.4     Representation of Opt-Outs. Class Counsel agree that it would be a

conflict of interest for them to represent an opt-out in this action.

      5.5     Objections from Class Members. Any Class Member who has

previously not opted out in accordance with the terms above may appear at the

Fairness Hearing to argue that the proposed Settlement Agreement should not be


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approved and/or to oppose the application of Class Counsel for common fund

attorney fees award and class representative service fee award.

      5.6    Time for Submission of Written Objections. All objections must

comply with Rule 23(e)(5) and must be in writing, contain the objector’s name,

address, telephone number, the specific grounds for the objection, whether the

objector is represented by counsel, and state whether the objector or his/her

attorney will appear at the Fairness Hearing. At least ten (10) days before the

Fairness Hearing, all objections to the proposed settlement must be filed with the

Court by Class Counsel. To the extent necessary, or desired, the Parties may

respond to any properly filed objection.

      VI. Fairness Hearing and Final Approval

      6.1    Fairness Hearing. In accordance with the Notice Plan approved by

the Court, the Parties shall jointly request that the Court hold the Fairness Hearing

to consider approval of the Settlement Agreement. At least (21) days before the

Fairness Hearing, Class Counsel shall file a Motion for Entry of the Final

Approval Order. The Parties agree that, upon entry, the Final Approval Order

constitutes a final judgment dismissing the Lawsuit with prejudice.

      6.2    Final Approval. All relief contemplated by this Settlement

Agreement is expressly contingent upon the Court: (1) certifying the Class under

Federal Rule of Civil Procedure 23(b)(3) for the sole purpose of settlement; (2)


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approving the Parties’ Settlement, subject to the Court’s discretionary decisions;

and (3) dismissing with prejudice all claims asserted against HSS and YCO in this

Action. The Parties and their counsel acknowledge that, under § 1715(d) of

CAFA, the Court may not issue an order granting final approval of the Settlement

earlier than ninety days after the last service of CAFA notice on appropriate

officials.

       6.3   Court’s Discretion Regarding Deadlines. Any deadlines in this

Agreement, including for the Parties, Class Members, Opt-Outs, or Objectors, are

subject to change in the discretion of the Court. Any modifications made to these

deadlines by the Court shall not affect the enforceability or validity of this

Agreement.

       VII. The Settlement Fund and Other Affirmative Relief to Class

Members

       7.1   Creation of Settlement Fund. Class Counsel shall establish as the

Settlement Fund an escrow account or equivalent account at a federally-insured

financial institution (“the Financial Institution”), which shall be considered a

common fund created as a result of the Lawsuit. Class Counsel shall promptly

notify HSS’s Counsel and YCO’s Counsel of the date of the establishment of the

Settlement Fund account. HSS and YCO shall fund the Settlement Fund account

within 7 days of the Effective Date. Distributions from this Settlement Fund shall


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be made only in accordance with this Settlement Agreement, as approved by the

Court. . The Settlement Fund may not be commingled with any other funds and

must be held in cash, cash equivalents, certificates of deposit, or instruments

insured by an arm of or backed by the full faith and credit of the United States

Government. Interest earned, if any, on the Settlement Fund shall be for the

benefit of the Class Members. The Settlement Fund will only be used to make

distributions to the Class Members, subject to being reduced by Attorneys’ Fees,

service fee awards, Administrative Costs, and any other costs permitted by this

Settlement Agreement or the Court.

      7.2    Service Fee Award. As part of the Motion for Final Approval, Class

Counsel shall file an application to the Court for a reasonable service fee award to

be paid to Class Representatives. HSS and YCO shall not oppose such a request.

Any service award shall be paid directly from the Settlement Fund to Class

Representatives at the same time as payments to Class Members

      7.3    Attorneys’ Fees. More than 21 days before the Fairness Hearing,

Class Counsel shall file an application to the Court for a reasonable award of

Attorneys’ Fees. Class Counsel’s application shall be noticed to be heard at the

Fairness Hearing. All Attorneys’ Fees shall be paid directly from the Settlement

Fund, in the amount approved by the Court, within five (5) days of the latter of:

(1) the Court approving Class Counsel’s application for an award of Attorney’s


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Fees; or (2) HSS and YCO funding the Settlement Fund account, pursuant to

Subsection 7.1.

      7.4    Class Administrator. Class Counsel shall request the appointment of

a Class Administrator with their Preliminary Approval Motion. HSS and YCO

shall not oppose such a request.

      7.5    Settlement Not Conditioned on Court’s Approval of Class Counsel’s

Requests for Attorneys’ Fees, Service Fee Award, or Appointment of Class

Administrator. The failure of the Court to approve the full amount of Class

Counsel’s request for attorneys’ fees, the failure of the Court to approve the

amount requested for the Class Representative’s service fee award, and/or the

failure of the Court to appoint a class administrator shall in no way affect the

validity or enforcement of this Settlement Agreement.

      7.6    Costs of Class Notice and Administration. Class Counsel and/or the

Class Administrator shall account using invoices for the reasonable costs of class

notice and administration. Such accounting shall include costs of mailing and

compiling/updating the Class List. All reasonable costs of Class Notice and

Administration shall be paid by Class Counsel and/or the Class Administrator,

with those expenses to be paid/reimbursed from the Settlement Fund. Any

disputes relating to the actual payment of class notice and administration costs

shall be brought to the attention of the Court for resolution.


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      7.7   Payments to Class Members. All payments to Class Members shall

be paid from the Settlement Fund. The Class Members are entitled to payment

from the Settlement Fund pursuant to the process set forth in Subsection 7.9.

      7.8   Distribution of Net Class Settlement Funds: The balance of the Net

Class Settlement Funds will be distributed to the Class Members in the following

manner

            Estimated underpayments including hourly wage differential and

            service charges, if any, per HSS and YCO’s records as verified by

            Class Counsel, less any employer tax liability which shall be paid out

            of the Settlement Fund. This distribution shall be considered a W2

            wage payment. Any required tax payments for HSS and YCO shall

            be paid from the Settlement Fund.

            Equal distribution of remaining amount among Class Members. This

            distribution shall be considered a 1099 non-wage payment.

            If economically feasible, any Net Class Settlement Funds remaining

            after disbursements to all Class Members will be redistributed equally

            to those Class Members that negotiated their settlement payments

            within 90 days of their issuance as 1099 non-wage payments. If it is

            not economically feasible to redistribute excess funds to Class

            Members, then any remaining funds will be distributed to a cy pres

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             beneficiary, pursuant to Subsection 7.11.

      7.10 General Use and Disbursement of Settlement Fund. The Settlement

Fund shall be used only in the manner and for the purpose provided for in this

Settlement Agreement, subject to the approval of the Court and the Court’s

continuing jurisdiction over the execution of the terms of this Settlement

Agreement. No portion of the Settlement Fund shall be disbursed except as

expressly provided for herein.

      7.11 Cy Pres. Any excess funds remaining in the Settlement Fund after all

distributions have been made in accordance with this Settlement Agreement to the

Class Members shall be donated to the following cy pres organization: The

Montana Racial Equity Project.

      7.12 Neutral Letter of Reference. Upon written request from individual

class members, HSS and YCO will provide individual Class Members with a

neutral job reference.

      VIII. Release of Claims

      8.1    Releases; Binding and Exclusive Nature of Settlement Agreement.

      a.     The Parties agree that the Final Order and Judgment shall provide

that all claims asserted against HSS and/or YCO in the Action are dismissed with

prejudice as to the Class Representatives and all Class Members who did not

execute a valid and timely opt-out pursuant to Section V.


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      b.     Upon the Effective Date, the Parties, and each and every Class

Member who did not properly opt-out pursuant to Section V, shall be bound by

this Settlement Agreement and shall have recourse only to the benefits, rights, and

remedies provided hereunder. No other action, demand, suit, arbitration or other

claim may be pursued against HSS or YCO with respect to the released claims.

      c.     Upon the Effective Date and in consideration of the promises and

covenants set forth in this Settlement Agreement the Parties agree to the releases

below (“Released Rights”). This Release shall be included as part of any

judgment, so that all Released Rights shall be barred by principles of res judicata,

collateral estoppel, and claim and issue preclusion.

             1. Class Representatives’ General Release and Waiver of Claims.

             Class Representatives will be deemed to have completely released

             and forever discharged HSS and YCO from any and all past, present

             and future claims of any and every kind, including without limitation:

             (a) those known or unknown or capable of being known; (b) those

             which are unknown but might be discovered or discoverable based

             upon facts other than or different from those facts known or believed

             at this time; and (c) those accrued, unaccrued, matured or not

             matured, including, but not limited to, any right to be hired in the

             future by HSS or YCO.


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      2. HHS and YCO’s Release and Waiver of Claims Against Class

      Representatives. HSS and YCO will be deemed to have completely

      released and forever discharged Class Representatives from any and

      all past, present and future claims that could have been asserted in

      this Action, including without limitation: (a) those known or

      unknown or capable of being known; (b) those which are unknown

      but might be discovered or discoverable based upon facts other than

      or different from those facts known or believed at this time; and (c)

      those accrued, unaccrued, matured or not matured.

      3. Class Members’ Waiver and Release of Claims. Class Members

      will be deemed to have released and forever discharged HSS and

      YCO from all claims that were brought in the operative complaint

      and all claims based on the identical factual predicate as that

      underlying the claims in this Action.

      4. Mutual General Release and Waiver Between HSS and YCO. For

      and in consideration of the sum of $1.00, which each will be deemed

      to have paid to the other, HSS and YCO will be deemed to have

      forever discharged each other from any and all past, present and

      future claims of any and every kind that could have been asserted in

      this Action, including without limitation: (a) those known or


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             unknown or capable of being known: (b) those which are unknown

             but might be discovered or discoverable based upon facts other than

             or different from those facts known or believed at this time: and (c)

             those accrued, unaccrued, matured or not matured.

             5. Class Counsel’s Release and Waiver. Upon the Effective Date,

             and in consideration of the promises and covenants set forth in this

             Settlement Agreement, the undersigned Class Counsel, for

             themselves, and each of his, her, or their owners, predecessors,

             successors, partners, shareholders, agents (alleged or actual), experts,

             representatives, employees, and affiliates (“Attorney Releasors”),

             unconditionally and irrevocably remise, waive, satisfy, release,

             acquit, and forever discharge HSS and YCO from any and all right,

             lien, title, or interest in any attorney’s fee or award or any claim for

             reimbursement of costs in connection with the Action or the Released

             Rights.

      8.2    Waiver of Unknown Claims and Assumption of Risk.

      a.     Class Representatives and each of the Releasing Parties

acknowledges that he or she may hereafter discover facts other than or different

from those that he or she knows or believes to be true with respect to the subject

matter of the released claims, but each of those persons expressly agree that, upon


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entry of the Final Approval Order and Judgment contemplated by this Settlement

Agreement, he or she shall have waived and fully, finally, and forever released

any known or unknown, suspected or unsuspected, asserted or unasserted,

contingent or non-contingent claim with respect to the released claims pursuant to

Paragraph 8.1 above, whether or not concealed or hidden, without regard to

subsequent discovery or existence of such different or additional facts.

      b.      In entering into this Settlement Agreement, each of the Parties

assumes the risk of any unknown or mistake of fact or law. If any Party should

later discover any new fact which might have been material to its decision to enter

into this Agreement, or if any Party discovers that any fact upon which the Party

relied in entering into this Settlement Agreement is not true, or that the Party’s

understanding of the facts or law was incorrect, the Party shall not be entitled to

modify, reform, or set aside this Settlement Agreement, in whole or in part, by

reason thereof.

      8.3    No Additional Claims. Class Representatives, Class Counsel, and

Class Members represent that no additional claims are contemplated against any

other party potentially liable for the losses, damages, and claims for which the

releases contained in this Settlement Agreement are given. In the event any

additional claim is made by Class Representatives, Class Counsel, or Class

Members which directly or indirectly results in additional liability exposure to


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HSS or YCO for the losses, injuries, and damages for which the releases contained

in this Settlement Agreement are given, the party making such claim covenants

and agrees to indemnify and save the other parties harmless from all such claims

and demands, including reasonable attorneys’ fees and all other expenses

necessarily incurred.

      8.4     Medicare Release.

      (a) This Settlement Agreement is based upon a good faith resolution of a

disputed claim. The Parties have not shifted responsibility for medical treatment

to Medicare in contravention of 42 U.S.C. § 1395y(b). The Parties made every

effort to adequately protect Medicare’s interest and incorporate such into this

Agreement and Release, and to comply with both federal and state law. The

Parties acknowledge and understand that any present or future action or decision

by the Centers for Medicare & Medicaid Services or Medicare on this Settlement

Agreement, or Class Members’ eligibility or entitlement to Medicare or Medicare

payments, will not render this Settlement Agreement void or ineffective.

      (b) Class Representatives and Class Members warrant that they are not

Medicare beneficiaries as of the date of this Settlement Agreement. Because

Class Representatives and Class Members are not Medicare recipients as of the

date of this Agreement and Release, no conditional payments have been made by

Medicare.


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       (c) Class Representatives and Class Members represent and agree that they

will indemnify, defend, and hold YCO and HSS harmless from any and all claims,

liens, Medicare conditional payments, and rights to payment, known or unknown.

If any governmental entity, or anyone acting on behalf of any governmental entity,

seeks damages (including multiple damages) from YCO relating to Class

Representatives and Class Members’ alleged injuries, claims, or lawsuit, Class

Representatives and Class Members will defend and indemnify YCO and HSS,

and hold YCO and HSS harmless from any and all such damages (including

multiple damages), claims, liens, Medicare conditional payments, and rights to

payment, including any attorneys’ fees sought by such entities.

       (d) The Parties acknowledge and understand that any present or future

action or decision by the Centers for Medicare and Medicaid Services or Medicare

on this Settlement Agreement, or Class Representatives and Class Members’

eligibility or entitlement to Medicare or Medicare payments, will not render this

Settlement Agreement void or ineffective, or in any way affect the finality of this

Settlement Agreement.

       (e) Class Representative and Class Members agree to waive any and all

private causes of action for damages pursuant to 42 U.S.C. §§ 1395y(b)(3)(A), et

seq.




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      IX. Parties’ Right to Terminate or Withdraw from Agreement

      9.1    HSS’s and YCO’s Right to Withdraw or Terminate Settlement

Agreement. HSS and/or YCO shall have the right to terminate and/or withdraw

from this Settlement Agreement if: (1) the Court fails or declines to enter the

Preliminary Approval Order and the Parties are unable to address the Court’s

grounds for not granting preliminary approval amongst themselves or with the

assistance of the Court; or (2) the Court fails or declines to grant final approval of

the Settlement and the Parties are unable to address the Court’s grounds for not

granting final approval amongst themselves or with the assistance of the Court. If

HSS or YCO elects to exercise this right, it shall do so by giving written notice to

the Court and to Class Counsel within 7 days of the event giving rise to HSS’s or

YCO’s right to terminate and/or withdraw from this Settlement Agreement.

      9.2    Class Representatives’ Right to Withdraw or Terminate Settlement

Agreement. Class Representatives shall have the right to terminate and/or

withdraw from this Settlement Agreement if: (1) the Court fails or declines to

enter the Preliminary Approval Order and the Parties are unable to address the

Court’s grounds for not granting preliminary approval amongst themselves or with

the assistance of the Court; or (2) the Court fails or declines to grant final approval

of the Settlement and the Parties are unable to address the Court’s grounds for not

granting final approval amongst themselves or with the assistance of the Court. If


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Class Representatives elect to exercise this right, they shall do so by giving

written notice to the Court, HSS’s Counsel, and YCO’s Counsel within 7 days of

the event giving rise to Class Representatives’ right to terminate and/or withdraw

from this Agreement.

      9.3    HSS and YCO’s Right to Withdraw or Terminate. Class Counsel

will recommend and endorse the settlement to the Class Representatives and Class

Members. If, however, more than ten-percent (10%) of the Class Members do not

agree to participate in the Settlement, then HSS and YCO may in their sole

discretion withdraw from and terminate this Agreement. HSS and YCO will have

five (5) business days to give notice to Class Counsel of their intent to withdraw

and rescind after Class Counsel provides HSS and YCO’s Counsel notice of all

Class Members that have completed and timely returned an opt-out form. a

      X. Miscellaneous Provisions

      10.1 Best Efforts. The Parties and their respective counsel shall cooperate

together and use their best efforts to cause the Court to enter the Preliminary

Approval Order promptly, to take all steps contemplated by this Settlement

Agreement to effectuate the settlement on the terms and conditions stated herein,

and to obtain entry of the Final Order and Judgment.

      10.2 No Construction Against Drafter. This Settlement Agreement has

been negotiated at arm’s length between Class Counsel, HSS’s Counsel, and


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YCO’s Counsel. In the event of any dispute arising out of this Settlement

Agreement, or in any proceeding to enforce any of the terms of this Settlement

Agreement, no Party shall be deemed to be the drafter of this Settlement

Agreement or of any particular provision or provisions, and no part of this

Settlement Agreement shall be construed against any Party on that basis. The

Parties further acknowledge that the obligations and releases herein described are

in good faith and are reasonable in the context of the matters released.

      10.3 Change of Time Periods. The time periods and/or dates described in

this Settlement Agreement with respect to the giving of notices and hearings are

subject to approval and change by the Court or by the written agreement of the

Parties.

      10.4 Governing Law. This Settlement Agreement shall be governed by

the laws of the State of Montana.

      10.5 Entire Agreement. The terms and conditions set forth in this

Settlement Agreement, including the exhibits attached hereto and incorporated by

reference herein, constitute the complete and exclusive statement of the agreement

between the Parties relating to the subject matter of this Settlement Agreement,

superseding all previous negotiations and understandings, and may not be

contradicted by evidence of any prior or contemporaneous agreement. The Parties

further intend that this Settlement Agreement constitutes the complete and


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exclusive statement of its terms as between the Parties and that no extrinsic

evidence whatsoever may be introduced in any judicial proceeding, if any,

involving this Settlement Agreement. Any modification of the Settlement

Agreement must be in writing signed by Class Counsel, HSS’s Counsel, and

YCO’s Counsel.

      10.6 Advice of Counsel. Each party to this Settlement Agreement warrants

that he, she, or it is acting upon his, her, or its independent judgment and upon the

advice of his, her, or its counsel and not in reliance upon any warranty or

representation, express or implied, of any nature or kind by any other party, other

than the warranties and representations expressly made in this Settlement

Agreement. The parties acknowledge, agree, and specifically warrant to each

other that they have read this Settlement Agreement, have received legal advice

with respect to the advisability of entering into this Settlement, and fully

understand its legal effect.

      10.7 Binding Agreement. This Settlement Agreement shall be binding

upon and inure to the benefit of the respective heirs, successors, and assigns of the

Parties.

      10.8 No Waiver. The waiver by a Party of any provision or breach of this

Settlement Agreement shall not be deemed a waiver of any other provision or

breach of this Settlement Agreement.


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      10.9 No Collateral Attack. This Settlement Agreement shall not be subject

to collateral attack by any Class Members or their representatives any time on or

after the Effective Date. Such prohibited collateral attacks shall include, but shall

not be limited to, claims that a Class Member’s claim should have been heard or

decided by another court or in another suit, that a Class Member’s claim was

improperly denied, that the payment to a Class Member was improperly

calculated, and/or that a Class Member failed to receive timely notice of the

Settlement.

      10.10 No Tax Withholding or Advice. Class Representatives, Class

Counsel, and Class Members agree they shall be solely responsible for reporting

and paying any federal, state, and/or local income or other tax on any of the

benefits conveyed to Class Members pursuant to this Settlement Agreement.

Class Representatives, Class Counsel, and Class Members further agree that any

employer tax liability resulting from settlement payments to Class Members,

including HSS’s employer portions of FICA and FUTA, will be paid by Class

Counsel and/or the Class Administrator from the Settlement Fund. Class

Representatives, Class Counsel, and Class Members agree that HSS and YCO and

their respective counsel makes no representations, and have made no

representations, as to the taxability of the relief to Class Representatives, the other

Class Members, and Class Counsel. Class Representatives, Class Counsel, and


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Class Members shall bear the sole responsibility for any and all of Class

Members’ tax consequences related to this Agreement, and shall fully indemnify

HSS, HSS’s Counsel, YCO, and YCO’s Counsel, which includes, but is not

limited to, payment of tax liability, attorneys’ fees, penalties, costs, fees, etc., for

any tax liability, penalties, attorney fees, costs, fees, etc. attributable to HSS,

HSS’s Counsel, YCO, or YCO’s Counsel that arise from or out of the this

Settlement Agreement.

       10.11 Execution in Counterparts. This Settlement Agreement shall, subject

to the approval procedures contained herein, become effective upon its execution

by the Parties through their undersigned counsel, who have authority to execute

this Settlement Agreement on behalf of their respective clients. This Settlement

Agreement may be executed by facsimile signature and in counterparts, and

execution of counterparts shall have the same force and effect as if the Parties had

signed the same instrument.

       10.12 Enforcement of this Settlement Agreement. The Court shall retain

jurisdiction over the interpretation, effectuation, and implementation of this

Settlement Agreement, and shall have authority to resolve any disputes concerning

construction, implementation, or enforcement of this Settlement Agreement. The

Parties agree this Settlement Agreement shall be admissible in any civil action to

compel compliance with this Settlement Agreement.


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      10.13 Attorneys’ Fees. In the event any Party files a lawsuit or other civil

action to enforce any provision of this Settlement Agreement, or to the extent any

such lawsuit otherwise arises out of or relates to this Settlement Agreement, the

prevailing party or parties in any such dispute shall be entitled to recover from the

non-prevailing party or non-prevailing parties all reasonable attorneys’ fees, costs,

and expenses incurred, specifically including and without limitation all reasonable

attorneys’ fees incurred by the prevailing party on appeal.

      Agreement Not to Publicize. The Parties agree that neither Class

Representatives, Class Members, Class Counsel, HSS, YCO, or their respective

counsel shall publicize the terms set forth in this Agreement. Class Counsel shall

not reference YCO or HSS in advertising or other promotional materials,

including any press conferences If asked about the claims or lawsuit by a member

of the public, a party may respond “The claim was resolved,” “No comment,” or

words to that effect.

      10.15 Non-Disparagement. After the Parties execute this Settlement

Agreement, Class Representatives, and Class Counsel will not knowingly say or

do anything which will disparage, harm the reputation, character or diminish the

goodwill and business reputation of: (1) HSS and/or HSS’s employees, officers,

Board members, parent or subsidiary companies, or agents; or (2) YCO and/or

YCO’s employees, officers, Board members, parent or subsidiary companies, or


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agents. Likewise, after the Parties execute this Settlement Agreement, HSS,

HSS’s Counsel, YCO, and YCO’s Counsel will not knowingly say or do anything

which will disparage, harm the reputation, character or diminish the goodwill and

business reputation of Class Representatives, Class Members, or Class Counsel.

      10.16 Headings. The headings contained in this Settlement Agreement are

for reference purposes only and shall not in any way affect the meaning or

interpretation of this Settlement Agreement.

      10.17 Authorization. The undersigned individuals represent they have the

requisite authority to enter into this Settlement Agreement and thereby bind the

party for whom they are signing.




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       IN WITNESS WHEREOF the undersigned, being duly authorized by the
Parties, have caused this Settlement Agreement to be executed on the dates shown
below and agree that it shall take effect on the date it is executed by Class Counsel,
HSS’s Counsel, and YCO’s Counsel, subject to the approval procedures contained
herein.

      Dated: August ____, 2020

      ______________________________
      Nicholas Douglas
      Class Representative


      Dated: August ____, 2020

      ______________________________
      Tasheka Bryan
      Class Representative


      Dated: August ____, 2020

      ______________________________
      Junior Harris
      Class Representative


      Dated: August ____, 2020

      ______________________________
      Marcus Richards
      Class Representative


      Dated: August ____, 2020

      ______________________________
      Stephaney Smith
      Class Representative


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Dated: August ____, 2020

______________________________
Christopher C. Young
Young Law Office PLLC
P.O. Box 10247
Bozeman, Montana 59719
Tel.: 406.587.2070
cyoung@younglawofficepllc.com
Class Counsel


Dated: August ____, 2020

______________________________
David Seligman
Towards Justice
1410 High, St., Suite 300
Denver, CO 80218
Tel.: 720.248.8426
david@towardsjustice.org
Class Counsel


Dated: August ____, 2020

______________________________
Mary Jo Lowrey
Lowrey Parady Lebsack, LLC
1490 Lafayette St., Suite 304
Denver, CO 80218
Tel.: 303.593.2595
maryjo@lowrey-parady.com
Class Counsel




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